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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

Monique R. Davis                                       )
                                                       )
                       Plaintiff,                      )
                                                       )       CASE NO. 19-cv-00660 APM
       v.                                              )
                                                       )
WASHINGTON METROPOLITAN                                )
AREA TRANSIT AUTHORITY                                 )
                                                       )
                                                       )
                       Defendant.                      )


WMATA’S REPLY TO PLAINTIFF’S OPPOSITION TO ITS MOTION FOR PARTIAL
                            DISMISSAL

       WMATA hereby replies to Plaintiff’s opposition to its motion for partial dismissal as

follows:

       Plaintiff alleges that on April 20, 2016, WMATA’s bus operator was negligent in the

operation of a WMATA bus. Specifically, Plaintiff claims she sustained injuries when the bus

she was riding on was involved in a motor vehicle collision.

       Counts II and III of Plaintiff’s Complaint claim and allege that WMATA was negligent in

hiring, training, retaining, supervising its bus operator, and negligent in entrusting its bus to the

operator.

       Defendant WMATA moved for partial dismissal of Counts II and III of Plaintiff’s

Complaint based upon well-established, controlling law that WMATA is immune from claims of

negligent hiring, training, retention and supervision involving alleged tortious conduct. See

Beebe v. WMATA, 129 F.3d 1283, 1287 (D.C. Cir. 1997) and Burkhart v. WMATA, 112 F.3d

1207, 1216-1217 (D.C. Cir. 1997).

       Plaintiff’s winding, circular argument that WMATA’s motion for partial dismissal should
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be denied ignores the controlling authority of Burkhart. In Burkhart the Court of Appeals for

the District of Columbia Circuit held that:

          decisions concerning the hiring, training, and supervising of WMATA
          employees are discretionary in nature, and thus immune from judicial
          review. . . . The WMATA compact confers upon WMATA broad power to
          “[c]reate and abolish ... employments” and “provide for the qualification,
          appointment, [and] removal ... of its ... employees without regard to the
          laws of any of the signatories,” D.C. Code§ 1–2431(12)(g); “[e]stablish, in
          its discretion, a personnel system based on merit and fitness,” id. § 1–
          2431(12)(h); and “[c]ontrol and regulate ... the service to be rendered,” id.§
          1–2431(12)(j). These provisions hardly constrain WMATA's determination
          of whom it will employ or how it will train and supervise such employees.

          Burkhart, 112 F.3d at 1217.

See also Beebe, 129 F.3d at 1287 (holding that appointment of an employee to oversee internal

reorganization efforts was a discretionary function for which WMATA was immune).

       The Court in Burkhart further reasoned that:

          The hiring, training, and supervision choices that WMATA faces are
          choices “susceptible to policy judgment. The hiring decisions of a public
          entity require consideration of numerous factors, including budgetary
          constraints, public perception, economic conditions, individual
          backgrounds, office diversity, experience, and employer intuition.
          Similarly, supervision decisions involve a complex balancing of budgetary
          considerations, employee privacy rights, and the need to ensure public
          safety. The extent of training with which to provide employees requires
          consideration of fiscal constraints, public safety, the complexity of the task
          involved, the degree of harm a wayward employee might cause, and the
          extent to which employees have deviated from accepted norms in the past.
          Such decisions are surely among those involving the exercise of political,
          social, or economic judgment. Id.


       Plaintiff’s reliance on Briggs v. WMATA, 293 F.Supp.2d 8 (D.D.C. 2003), a case

involving design immunity, to support her position is misplaced. Briggs held that decisions are

discretionary when they involve social, economic or public policy and are susceptible to policy


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analysis. See Briggs v. WMATA, 293 F.Supp.2d 8, 12 (D.D.C. 2003). In so holding the court in

Briggs noted that the “courts must evaluate the nature of the conduct, not how the decision was

made.” Id.     The court in Burkhart v. WMATA, 112 F.3d 1207, 1216-1217 (D.C. Cir. 1997) has

held that the relevant conduct, i.e., hiring, training, retention and supervision, is susceptible to

policy analysis and, therefore, that WMATA is immune from claims of negligent hiring, training,

retention and supervision

       Wherefore, WMATA’s motion for partial dismissal should be granted.




                                                       Respectfully submitted,

                                                       WASHINGTON METROPOLITIAN
                                                       AREA TRANSIT AUTHORITY


                                                       /s/Nicholas L. Phucas
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Reply was electronically filed and served this

29th day of March 2019, to:


       Michael D. Reiter
       Benjamin T. Boscolo
       7852 Walker Drive, Suite 300
       Greenbelt, MD 20770



                                             /s/ Nicholas L. Phucas____
                                             Nicholas L. Phucas #475163




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